          Case 3:14-cr-00282-SI         Document 42        Filed 12/17/14     Page 1 of 5


                                                       U.S. Department of Justice
                                                      S. Amanda Marshall
                                                      United Stat.es Attorney
                                                      District of Oregon
                                                      I 000 SW Third Avenue, Suite 600       (503) 727-1000
                                                      Portland, OR 97204-2902            Fax (503) 727-1117

                                                      AUSA Ryan W. Bounds                Desk (503) 727-1141



                                                       November 18, 2014


Celia Howes, Esq.
Hoevet, Boise, Olso~ Howes P.C.
1000 SW Broadwayt Suite 1500
Portland, Oregon 97205


       Re:     United State.~ v. Kyle Keoki Yamaguchi, Case No. 3:14-cr-00282-KI-2
               Superseding Plea Offer

Dear Ms. Howes:

1.     Parties/Scope: This plea agreement is between this United States Attorney's Office
(USAO) and defendant, and thus does not bind any other federal, state, or local prosecuting,
administrative, or regulatory authority. This agreement does not apply to any charges other than
those specifically mentioned herein.

2.      Charges: Defendant agrees to plead guilty to CoWlt 1 of the Indictment, which charges
him with Conspiracy to Transport, Receive, and Sell Stolen Goods, in violation of 18 U.S.C.
§ 371, and to admit the Forfeiture Allegation.

3.      Penalties: The maximum sentence for the offense charged in Count 1 is five years'
imprisonment, a fine of $250,000, and 3 years of supervised release, in addition to a mandatory
$100 fee assessment. Defendant agrees to pay the $100 fee assessment by the time of entry of his
guilty plea or to explain to the Court why this cannot be done.

4.     No Prosecution on Other Charges: Upon defendant's conviction pursuant to this
agreement, the USAO shall dismiss Count 4 of the Indictment and forgo additional charges against
defendant in the District of Oregon arising out of this investigation, insofar as they are known to
the USAO as of the date and time of this letter.

5.      Sentencing Factors: The parties agree that the Court must first determine the applicable
advisory guide1inc range, then determine a reasonable sentence considering that range and the
factors listed in 18 U.S.C. § 3553(a). Where the parties agree that sentencing factors apply, such
agreement constitutes sufficient proof to satisfy the applicable evidentiary standard.
           Case 3:14-cr-00282-SI          Document 42        Filed 12/17/14       Page 2 of 5


Celia Howes, Esq.
Re: United Stales v. Kyle Keoki Yamaguchi
November 18, 2014
Page2


6.      Relevant Conduct: The parties agree that defendant's relevant conduct involved his
receipt and sale of stolen shoes worth at least $679,650. This conduct generates an offense level
of20 pursuant to USSG § 2Bl. l(a)(2) and (b)(l)(H).

7.     Acceptance of Responsibility: Defendant must demonstrate to the Court that he fully
admits and accepts responsibility under USSG § 3E 1.1 for his unlawful conduct in this case. If
defendant does so, the USAO will recommend a three-level reduction in his offense level. The
USAO reserves the right to change this recommendation if defendant, between plea and
sentencing, commits any criminal offense, obstructs or attempts to obstruct justice as explained in
USSG § 3Cl.1, or acts inconsistently \l\rith acceptance of responsibility as explained in USSG
§ 3E1.l.

8.     Recommendation of Downward Variance: In Iight of defendant's waiver of motions
and additional discovery, acceptance ofresponsibility for the full scope of the scheme of which the
charged offenses were a part, and extraordinary cooperation in the investigation, the USAO agrees
to recommend an additional nine-level dmvnward variance from the othernise applicable advisory
Sentencing Guideline range. The USAO reserves the right to change this recommendation if
defendant, between plea and sentencing, commits any criminal offense, obstructs or attempts to
obstruct justice as explained in USSG § 3Cl. l, or acts inconsistently with acceptance of
responsibility as explained in USSG § 3El.1.

9.     Recommendation of Probation: If defendant enters a timely plea of guilty and accepts
responsibility as described in paragraphs 7-8, supra1 the USAO agrees to recommend that the
Court impose a sentence of five years' probation.

10.      Restitution: This agreement is conditioned upon defendant's prior agreement with Nike,
Inc., the victim of the charged offense, to pay full restitution forthwith pursuant to a civil
settlement between defendant and the victim. In light of that settlement, defendant shall owe no
restitution as a result of his conviction in this matter.

11.     Forfeiture Terms:

         A.      Assets and Authority: By signing this abrreement, defendant knowingly and
voluntarily forfeits all right, title, and interest in and to all assets which are subjec1 to forfeiture
pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c), including $21,750 in U.S. currency,
$206,801 in U.S. currency, and a 2014 Mercedes, all ofwhich were previously seized in this case
and all of which defendant admits constitute the proceeds of defendant's criminal activity as set
forth in Count 1 of the Indictment. Defendant agrees to the administrative forfeiture of the assets
listed above, and further agrees not to file a claim to any of the listed property in any civil
proceeding, administrative or judicial, which may be initiated. Defendant further waives the right
to notice of any forfeiture proceeding involving this prope1ty, and agrees not to assist others in
filing a claim in any forfeiture proceeding. Defendant knowingly and voluntarily waives the right
to a jury trial on the forfeiture of the above-listed assets. Defendant knowingly and voluntarily
           Case 3:14-cr-00282-SI          Document 42        Filed 12/17/14       Page 3 of 5

-
Celia Howes, Esq.
Re: United State.fl v. Kyle Keoki Yamaguchi
November 18, 2014
Page3


waives all constitutional, legal and equitable defenses to the forfeiture of these assets, including
any claim or defense under the Eighth Amendment to the United States Constitution, and any
rights under Rule 32.2 of the Federal Rules of Criminal Procedure. Defendant further agrees
forfeiture of these assets shall not be treated as satisfaction of any fine, restitution, cost of
imprisonment, or any other penalty this Court may impose upon defendant in addition to
forfeiture.

        B.       Money Judgment: By signing this agreement, defendant kno\\ingly and
voluntarily forfeits all right, title, and interest in and to a money judgment in the amount of
$50,000 pursuant to 18 U.S.C. § 981(a)(l)(C) and 28 U.S.C. § 2461(c), which defendant admits
represents additional proceeds of defendant's criminal activity set forth in Count 1 of the
Indictment. This money judgment shall not be joint and several with defendant's co-defendants.
Defendant knowingly and voluntarily waives the right to a jury trial on the forfeiture of this money
judgment. Defendant knowingly and voluntarily waives all constitutional, legal and equitable
defenses to the forfeiture of this money judgment. including any claim or defense under the Eighth
Amendment to the United States Constitution, and any rights under Rule 32.2 of the Federal Rules
of Criminal Procedure. Defendant further agrees forfeiture of this money judgment shall not be
treated as satisfaction of any fine, restitution, cost of imprisonment, or any other penalty this Court
may impose upon defendant in addition to forfeiture, nor is it satisfied in whole or in part by the
assets referenced in paragraph 11.A, supra. Defendant agrees that forfeiture of substitute assets
as authorized pursuant to 21 U.S.C. § 853(p) shall not be deemed an alteration of defendant's
sentence.

12.      Waiver of Auoeal/Post-Conviction Relief: Defendant knowingly and voluntarily
waives the right to appeal from any aspect of the conviction and sentence on any grounds, except
for a claim that: (l) the sentence imposed exceeds the statutory maximum, or (2) the Court
arrives at an advisory sentencing guideline range by applying an upward departure under the
provisions ofGuidelines Chapters 4 or SK, or (3) the Court exercises its discretion under 18 U.S.C.
§ 3553(a) to impose a sentence which exceeds the advisory guideline sentencing range as
determined by the Court at sentencing. Should defendant seek an appeal, despite this waiver, the
USAO may take any position on any issue on appeal. Defendant also waives the right to file any
collateral attack, including a motion under 28 U.S.C. § 2255, challenging any aspect of the
conviction or sentence on any grounds, except on grotmds of ineffective assistance of counsel, and
except as provided in Fed. R. Crim. P. 33 and 18 U.S.C. § 3582(c)(2).

       Defendant expressly agrees that this waiver shall remain effective in the event that the
USAO alters its sentencing recommendation as provided in paragraphs 7-9, supra, or if detendant
breaches this agreement as described in paragraph 15, infra.
           Case 3:14-cr-00282-SI          Document 42        Filed 12/17/14       Page 4 of 5


Celia Howes, Esq.
Re: United States v. Kyle Keoki Yamaguchi
November 18, 2014
Page4


13.     Court Not Bound: The Court is not bound by the recommendations of the parties or the
prcsentence investigation report (PSR). Because this agreement is made under Rule l l(c)(l)(B)
of the Federal Rules of Criminal Procedure, defendant may not withdraw any guilty plea or rescind
this plea agreement if the Court does not follow the agreements or recommendations of the parties.

14.     Full Disclosure/Resen-ation of Rights: The USAO will fully inform the PSR-writer and
the Court of the facts and law related to defendant's case. Except as set forth in this agreement,
the parties reserve all other rights to make sentencing recommendations and to respond to motions
and arguments by the opposition.

15.     Breach of Plea Agreement: Jt is expressly understood and agreed by the parties that, in
addition to any violation of the terms herein stated, it shall constitute a material breach of this Plea
Agreement by defendant if he, after executing this agreement, commits any further crime or
violates any condition of release or supervision imposed by the Court (whether or not such crime
or violation results in new charges or revocation of release or supervision).

        If defendant breaches this agreement, the USAO shall be relieved of any obligation under
this agreement, but defendant may not withdraw any guilty plea or his waiver of appeal and
post-conviction relief as described in paragraph 12, supra.

16.     Memorialization of Agreement: No promises, agreements or conditions other than
those set forth in this agreement will be effective unless memorialized in writing and signed by all
parties listed below or confirmed on the record before the Court. If defendant accepts this offer,
please sign and attach the original of this letter to the Petition to Enter Plea.




                                                                           (Continued on ne,.,,,1 page.)
           Case 3:14-cr-00282-SI         Document 42        Filed 12/17/14      Page 5 of 5

•
Celia Howes, Esq.
Re: United States v. Kyle Keoki Yamaguchi
November 18, 2014
Pages


16.    Deadline: This plea offer expires if not accepted by noon on December 2, 2014.

                                                       Sincerely,




          I have carefully reviewed every part of this agreement with my attorney. I understand and
voluntarily agree to its terms. I express]y waive my rights to appeal as outlined in this agreement.
I \Vi.sh to plead guilty because~ in fact~ I am guilty.




Date


       I am legal counsel for defendant. I have carefully reviewed and discussed every part of
this plea offer with defendant. To my knowledge defendant's decisions to accept this agreement
and to plead guilty are informed and voluntary ones.




Date                                                   Celia Howes, Esq.
                                                       Attorney for Defendant
